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IN THE UNITED STATES DISTRICT COURTS
FOR THE EASTERN DISTRICT OF CALIFORNIA
AND THE NORTHERN DISTRICT OF CALIFORNIA
UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES

PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE

RALPH COLEMAN, et al.,

Plaintiffs,
NO. CIV 8-90-0520 LKK JFM P

THREE-JUDGE COURT

Vv.

EDMUND G. BROWN JR., et al.,
Defendants.
MARCIANO PLATA, et al., NO. C01-1351 TEH
Plaintiffs, THREE-JUDGE COURT
Vv. ORDER DENYING REQUEST
FOR INTERVENTION BY
EDMUND G. BROWN JR., et al., INMATE EDUARDO ALVAREZ
ET AL.
Defendants.

Eduardo Alvarez and nine other inmates at California Correctional Institution have
submitted the attached “notice of intervention,” in which they state their intent to file a
motion for declaratory and injunctive relief. Their submission has failed to persuade the
Court that Plaintiffs’ counsel’s representation is inadequate. Accordingly, with good cause
appearing, the request for intervention is DENIED. If these inmates continue to seek relief in
this case, they shall communicate with Plaintiffs’ counsel, who may raise the issues with this

Court as appropriate. Any attempted motion for declarative and injunctive relief submitted

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by these inmates will not be filed; instead, the Clerk shall return any such motion to the

inmates with a copy of this order.

IT IS SO ORDERED.

Dated: IY

On behalf of the Court:'
on
~L
We eee

THELTON L. HENDERSON
SENIOR UNITED STATES DISTRICT JUDGE
NORTHERN DISTRICT OF CALIFORNIA

'A single judge is authorized to make this ruling under 28 U.S.C. § 2284(b)(3).

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